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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                September 23, 2022
                         UNITED STATES DISTRICT COURT
                                                                                 Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 MIRIAM EDWARDS, et al.,                   §
                                           §
        Plaintiffs.                        §
                                           §
 VS.                                       § CIVIL ACTION NO. 4:18-cv-04330
                                           §
 MCDERMOTT INTERNATIONAL,                  §
 INC., et al.,                             §
                                           §
        Defendants.                        §

                      ORDER ADOPTING MAGISTRATE JUDGE’S
                      MEMORANDUM AND RECOMMENDATION

       On October 19, 2021, this case was referred to United States Magistrate Judge

Andrew M. Edison for all pretrial matters under 28 U.S.C. § 636(b)(1)(B). Dkt. 204. Judge

Edison filed a Memorandum and Recommendation on August 30, 2022, recommending

that Defendants’ Motion to Dismiss Plaintiff’s § 10(b) Supplemental Class Action

Complaint (Dkt. 222) be GRANTED. Dkt. 265

       On September 20, 2022, Lead Plaintiff Nova Scotia Health Employees’ Pension

Plan filed its Objections. Dkt. 267. In accordance with 28 U.S.C. § 636(b)(1)(C), this Court

is required to “make a de novo determination of those portions of the [magistrate judge’s]

report or specified proposed findings or recommendations to which objection [has been]

made.” After conducting this de novo review, the Court may “accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate judge.” Id.; see

also FED. R. CIV. P. 72(b)(3).
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      The Court has carefully considered the Objections; the Memorandum and

Recommendation; the pleadings; and the record. The Court ACCEPTS Judge Edison’s

Memorandum and Recommendation and ADOPTS it as the opinion of the Court. It is

therefore ORDERED that:

      (1)   Judge Edison’s Memorandum and Recommendation (Dkt. 265) is
            APPROVED AND ADOPTED in its entirety as the holding of the Court;
            and

      (2)   Defendants’ Motion to Dismiss Plaintiff’s § 10(b) Supplemental Class
            Action Complaint (Dkt. 222) is GRANTED.

It is so ORDERED.
      SIGNED and ENTERED this 22nd day of September 2022.



                                      ________________________________
                                                        _            _____
                                    ______________________________________
                                              GEORRGE C.
                                              GEORGE   C HANKS,
                                                          HANKS JR.
                                                                 JR
                                        UNITED STATES DISTRICT JUDGE




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